Case 2:17-cV-00112-RSB-BWC Document 47 Filed 10/05/18 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION

ROXANNE KING and STACEY GRADY *
Individually and as Next *
Friend Of MICHELL A. *
ALYSA A. and CHRISTIAN*
G. ,

Plaintiffs,
vS. CIVIL ACTION NUMBER:
2:17-CV-00112-LGW-RSB
PARKER MARCY, DAVID HASSLER,
GARRETT WRIGHT, D.J. WALKER,
DAVID HANEY, COREY SASSER,
OFFICER RONNIE COOPER,

OFFICER ERIC BUTLER,

OFFICER JEREMY STAGNER,
OFFICER TIMOTHY HOLLINGSWORTH,
OFFICER CAMERON ARNOLD,
OFFICER RICHARD LESKA,

OFFICER CLAYTON PALMER,
OFFICER CHRIS LOWTHER, AND
INVESTIGATOR RESDEN TALBERT,

******$*********$**

Defendants.

PLAINTIFF§' MQTIQN IQ §IRlKE QLA!IQN EALMEB’§ QNTIMELX ANSWER
AND FOR EHIRY OF A DEFAULT BY THE CLERK

COME NOW the Plaintiffs, move that the Court strike the
untimely answer filed by CLA¥TON PALMER. The Plaintiffs also move
the Clerk of this Court enter a Default as to the Defendant Clayton
Palmer. Clayton Palmer was served on August 13, 2018. Clayton
Palmer did not file a timely Answer. His Answer was filed on
September 10, 2018. The Motion to Dismiss filed by Clayton Palmer
was not filed within the time in which Palmer could have filed a
timely Answer. Accordingly, Palmer is in Default and the Clerk of
the Court should enter a Default as to Clayton Palmer.

The Defendant, Clayton Palmer has offered no excuse to justify
his late filing of the Answer or Motion to Dismiss. Where a party

offers no good reason for the late filing of its Answer, entry of

Case 2:17-cV-00112-RSB-BWC Document 47 Filed 10/05/18 Page 2 of 3

a Default Judgment against that party is appropriate. See Mg§ragy
v. D'Angrga Elegtricl Inc., 434 F.2d 1000, (5th Cir. 1970).

Parties must file responsive pleadings within 21 days after being
served, and a Motion to Dismiss must be filed before any responsive
pleadings. See Federal Rules of Civil Procedure 12(a)(1). The
Answer of Clayton Palmer and his Motion to Dismiss were not timely.
Accordingly, the Answer should be stricken, and a Default should be
entered against Defendant Clayton Palmer.

Respectfully submitted on this the Sth day of October, 2018.

[sZW. Douglas Adams
Georgia Bar Number: 004650

Attorney for Plaintiffs

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Case 2:17-cV-00112-RSB-BWC Document 47 Filed 10/05/18 Page 3 of 3

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INVESTIGATOR RESDEN TALBERT,

**********$*$#*****~

Defendants.

§ERTIFI§ATE QF SERVIQE
This is to certify that I have this day served all parties in

this case in accordance with the directives from the Court Notice
of Electronic Filing ("NEF”), which was generated as a result of
electronic filing.

Submitted this the Sth day of October, 2018.

Zs[W. Douglas Adams
Georgia Bar Number: 004650

Attorney for Plaintiff

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